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                                       District Judge Daybook Entry
United States District Court - Southern District of West Virginia at Charleston
Date: 5/3/2019                                                                  Case Number 2:18-cr-00151
Case Style: USA vs. Muhammed Samer Nasher-Alneam
Type of hearing Criminal Jury Trial
Before the honorable: 2512-Faber
Court Reporter Ayme Cochran                                                     Courtroom Deputy Cindy Lilly
Attorney(s) for the Plaintiff or Government C. Bunn,Jennifer Rada Herrald


Attorney(s) for the Defendant(s) Katherine Capito,Isaac Forman,Michael Hissam


Law Clerk Rachel Procaccini                                                   Probation Officer
                                                          Trial Time
Jury Trial. Day No. 13



                                                       Non-Trial Time




                                                         Court Time
1:35 pm to 1:40 pm
Total Court Time: 0 Hours 5 Minutes Court actively conducting trial proceedings/Contested proceedings


                                                       Courtroom Notes
Jurors reported at 9:00 a.m. to resume deliberations
1:35 p.m.
Jury Note
1:40 p.m.
Recess
